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                EXHIBIT 1
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 AOE1-105'              Doc. Code: CI                                            Case No.
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 Rev. 1-07
 Page 1 of 1                                                                     Court            Circuit      District
 Commonwealth of Kentucky
 Court of Justice www.courts.ky.gov                                                       DrArersoll           :rCounty cT
 CR 4.02; CR Official Form 1                         CIVIL SUMMONS
                                                                                                        PLAINTIFF
                                                                           RECEIVED
      JOHN DOE
      do Sarah Almy, Attorney                                                   SEP 2'7 2017
      1611 Rosewood Avenue
      Louisville KY 40204
VS.
                                                                                                        DEFENDANT
      UNIVERSITY OF LOUISVILLE
      Serve Leslie Strohm
      2301 South Third Street
      Louisville KY 40208


Service of Process Agent for Defendant:




THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

         You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you,judgment by default may be taken against you
for the relief demanded in the attached Complaint.

        The name(s)and address(es) of the party or parties demanding relief against you are shown on the document
delivered to you with this Summons.
                                                               DAVID L. NICHOLSON,CLERK
Date: SEP 25 2O1?                ,2                                                                          Clerk
                                                        By:                                                        D.C.




                                                   Proof of Service
      This Summons was served by delivering a true copy and the Complaint(or other initiating document) to:

      this      day of                    ,2
                                                              Served by:
                                                                                                              Title
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CASE NUMBER                          JEFFERSON COUNTY CIRCUIT COURT
                                                  CIVIL DIVISION.,
      Ci 05056                                  JUDGE
                                                                  I.....       1,3')



JOHN DOE                                               PLAINTIFF
do Sarah Almy,Attorney
1611 Rosewood Avenue
LOUISVILLE KY 40204

VS.                              COMPLAINT

UNIVERSITY OF LOUISVILLE                                         DEFENDANTS
Serve Leslie Strohm
2301 South Third Street
Louisville KY 40292

AND

DEAN MARCIA HERN
University of Louisville
School of Nursing
555 South Floyd Street
Louisville KY 40292

AND

DR.ANGELA CALLOWAY
University of Louisville
School of Nursing
555 South Floyd Street
University of Louisville
Louisville KY 40292

AND

KATHERINE WECKMAN
7104 Greengate
Louisville KY 40241

      The Plaintiff, JOHN DOE,by counsel, states for his causes of action as

follows:

                                        1
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                                  THE PARTIES

                                   The Plaintiff

   1. The Plaintiff, JOHN DOE resides in Louisville, Kentucky, and has been a

      resident of the Commonwealth of Kentucky in Jefferson County for more

      than the past 180 days. JOHN DOE served in the United States Marine

      Corps and was honorably discharged in 1998, after which time he served as a

      civilian contractor in combat zones for over 10 years. He received his

      undergraduate degree at the University of Louisville in 2009. He enrolled at

      the University of Louisville's graduate nursing program in 2015 with an

      expected graduation date of May 2017. He was wrongfully suspended in

      September 2016.

                                  The Defendants

   2. The Defendant, the University of Louisville, is situated in Jefferson County,

      Kentucky;

   3. The Defendant, Dr. Marcia Herndon, is the Dean of Nursing at the

      University of Louisville where she denied him due process, discriminated

      against, and permitted at least one instructor and one student to maliciously

      defame JOHN DOE's character without repercussion;

  4. The Defendant, Dr. Angela Calloway, is a clinical professor employed by the

      University, who maliciously defamed JOHN DOE at the University in class

     to his colleagues and classmates at the School of Nursing;




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   5. The Defendant, Katherine Weckman, was a student at the University at the

      time of the suspension, who maliciously defamed JOHN DOE at the

      University under the University's supervision in collusion with Dr. Calloway.

                           VENUE AND JURISDICTION

   6. False criminal charges against JOHN DOE were brought in Jefferson

      County, Kentucky on September 19. 2016;

   7. The suspension occurred in Jefferson County, Kentucky;

   8. The malicious defamation by Dr. Calloway and Ms. Weckman occurred at the

      University of Louisville School of Nursing in Jefferson County, Kentucky;

   9. The damages to JOHN DOE exceed the statutory level for Circuit Courts in

      the Commonwealth;

   10.Venue and jurisdiction are proper in the Jefferson Circuit Court;

                               FACTS OF THE CASE

                                The Suspension

   11.JOHN DOE was a student in good standing in the Master's Entry

      Professional Nursing Program (MEPN), having complied with the full

      admissions process (including a background check), and having successfully

      completed all coursework. He expected to graduate in May, 2017;

   12.0n September 19, 2016, LMPD arrested JOHN DOE at the University and

      falsely charged him with two counts of Sexual Abuse I and one count of

      Distribution of Obscene Material to Minors;




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   13.At that time, he had not been, still has not been and will not be found guilty

      of these false charges;

   14.There can be no corroborating evidence to prove the false charges, and JOHN

      DOE will not accept any plea deal because he is absolutely not guilty of

      committing the abhorrent acts of which he has been charged;

   15.The very next day, Dean Hem composed a letter to JOHN DOE,suspending

      him from the MEPN program and claiming that he had never fulfilled the

      Kentucky HB 136,for a background check as a part of his admissions

      process;

   16.The letter was delivered to him on September 26, 2017, the day he was

      released from the Jefferson County Jail;

   17.The University wrongfully suspended JOHN DOE without basis, claiming

      falsely that the suspension was justified by sections 10(d), 10(q), 10(u), and

      10(mm)of the University Code of Student Conduct under "the color of the

      law," in violation of 18 US Code § 1982, the University's own policies, the 5th

      and 14th Amendments of the U.S. Constitution, and the Kentucky

      Constitution;

   18.JOHN DOE did not violate any of sections 10(d), 10(q), 10(u), and 10(mm);

   19.Mr.Ali is entitled to a conduct hearing prior to being permanently suspended

      from the MEPN program and from the University;

  20. The University has failed to follow its own Disciplinary Procedures as set out

     in § 11.3 of the Student Handbook, which is a breach of contract for the terms


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      of engagement for a student in a public university and a violation of 18 US

      Code § 1982, the University's own policies, the 5th and 14th Amendments of

      the U.S. Constitution, and the Kentucky Constitution;

   21.In a letter dated December 7, 2016, Dean Hern denied his right to a hearing

      and requested a second background check, which he then did;

   22.In a letter dated February 27, 2017, Dean Hern wrote that he had passed the

      background check and was approved for admission in 2015;

                                     Defamation

   23.Dr. Calloway, during several classes in JOHN DOE's absence, including but

      not limited to September 20th and 27th, maliciously stated that he was guilty

      and defamed his character to his classmates and University personnel;

   24.0n December 1, 2016, JOHN DOE filed a FERPA complaint against Dr.

      Calloway and requested a grievance hearing;

   25.JOHN DOE filed FERPA complaints with the University about Dr. Calloway

      with the University, but at the hearing his testimony and evidence were not

      permitted to be entered, so she was not held accountable for the harm caused

      his character among his classmates, who would one day become his

      colleagues;

   26.0n May 12, 2017, upon learning that his colleague Katherine Weckman had

      actively taken part in the malicious defamation against him during Dr.

      Calloway's classes, even claiming she "knew" that he was a pedophile;




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   27.0n May 22, Jessica Gernert wrote a letter to JOHN DOE letting him know

      that there would be no Title IX Grievance Hearing for his complaint against

      Ms. Weckman,constituting school-sanctioned harassment.

                                       CLAIMS

                             BREACH OF CONTRACT

   28.The University breached its contract with JOHN DOE when it failed to follow

      its own policies and procedures as set out in the Student Handbook;

                         DEFAMATION OF CHARACTER

   29.As a result of the defamatory statements made against him, JOHN DOE's

      reputation has been ruined in the nursing community;

   30.The elements for defamation of character have been met. They are:

         a. a false and defamatory statement concerning another;

         b. an unprivileged publicationH to a third party;

         c. fault amounting at least to negligence on the part of the publisher; and

         d. either actionability ofthe statement irrespective of special harm or the

            existence of special harm caused by the publication.

                                  DISCRIMINATION

31.JOHN DOE obviously is a male who was enrolled in the nursing school where the

   ratio of males to females is extremely low, and as such he is a member of a class

   protected against gender discrimination pursuant to the provisions of Title IX of

  the Civil Rights Act of 1964.



1 Walker v. Tucker, 295 S.W. 138, 139(Ky. 1927).
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    32.JOHN DOE's ethnicity is one-half Iranian, and he is a member of a class

       protected against ethnicity discrimination under Title VI of the Civil Rights

      Act of 1964, the 14th Amendment of the U.S. Constitution, and the Kentucky

      Constitution.

   33.JOHN DOE turned 40 in July 2015. At the time of the suspension, JOHN

      DOE was 41 years of age and he is a member of a class protected against age

      discrimination by the Age Discrimination Act of 1975.

                            DENIAL OF DUE PROCESS

   34.The University denied JOHN DOE's right to due process as guaranteed by

      the 5th and 14th Amendments of the U.S. Constitution, and the Kentucky

      Constitution when it failed to follow school published policies and procedures

      as follow:

         a. Suspension procedures and policies

         b. Grievance procedures and policies

         c. Privacy procedures and policies

         d. Wrongful_ denial of Title 9 Complaint

   35.The University ignored the presumption ofinnocence and instead acted pre-

     emptively based on criminal charges against JOHN DOE rather than waiting

      to act based on the final outcome of those charges.

                          HOSTILE ENVIRONMENT

  36.The University created a hostile environment for JOHN DOE by failing to

     protect his privacy, permitting defamatory comments made by and through its


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       employees, Dr. Marcia Hem, Dr. Angela Calloway and its then-student,

       Katherine Weckman, which amounted to school-sanctioned harassment, to

       stand, by suspending him without due process, by failing to follow its own

       procedures, created a hostile environment for JOHN DOE.

            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

    37. The University, by and through its employees, Dr. Marcia Hem, Dr. Angela

       Calloway and its then-student, Katherine Weckman, intentionally inflicted

       emotional distress on JOHN DOE.

                                 FINANCIAL DAMAGES

    38.As a result of the wrongful suspension he was substantially damaged

       financially as follows:

          a. In reliance of his acceptance into the MEPN program, JOHN DOE left

             a high-paying position and turned down multiple offers for subsequent

             jobs and the opportunity to attend medical college at American

             University Antigua with full Title WI federal funding;

          b. In reliance on his acceptance into the MEPN program, he incurred over

             $100,000.00 in student loans which he must repay even though he has

             been wrongfully suspended from the University;

          c. In reliance on his expected graduation from the MEPN, he is now

             obligated to repay his Norton Scholars $26,000.00 employment

             scholarship because of his wrongful suspension from the University;




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           d. The wrongful suspension prevented him from starting his position at

              Norton HealthCare where he would have obtained ICU experience,

              and offered a generous benefits package;

    39.As a result of the wrongful suspension, JOHN DOE's life has been destroyed

       even as he continues to await his opportunity to disprove the criminal

       charges against him, at which time he would have liked to begin his career as

       a nurse.

       WHEREFORE THE PLAINTIFF, JOHN DOE,by counsel, respectfully

       demands:

    I. Trial by a jury of his peers;

   2. Reinstatement in good standing to the UL Master's Entry to Nursing

      Program;

   3. Punitive damages;

   4. Attorney's fees;

   5. Leave to amend this Complaint if necessary;

   6. Any and all other relief to which he may be entitled.

                      WRITiCATION BY THE PLAINTIFF

I, JOHN DOE, having first been duly sworn, verify that I have read the statements
herein and that they are true and correct to the beset of my knowledge and
understanding.




COMMONWEALTH OF KENTUCKY
COUNTY OF JEFFERSON



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  Acknowledged, signed and sworn before me by JOIN DOE on Septe   r 25, 2017.
  My Commission Expires on April 4, 2019.

                                                    9
                                          Andrew A. Almy


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                                                     y
                                                 LAW OFFICE
                                          1611 Rosewood Avenue
                                          Louisville KY 40204
                                          (502)452-6333
                                          (502) 386-3474
                                          ssalmv@aol.com




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